           Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 1 of 7




     In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1666V
                                         UNPUBLISHED


    ERIC LARSON,                                              Chief Special Master Corcoran

                         Petitioner,                          Filed: April 1, 2020
    v.

    SECRETARY OF HEALTH AND                                   Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                           Stipulation on Damages; Influenza
                                                              (Flu) Vaccine; Shoulder Injury
                        Respondent.                           Related to Vaccine Administration
                                                              (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Gabrielle Manganiello Fielding, U.S. Department of Justice, Washington, DC, for
respondent.


                               DECISION ON JOINT STIPULATION1

        On October 29, 2018, Eric Larson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered a right shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered
to him on October 18, 2016. Petition at 1; Stipulation, filed March 30, 2020, at ¶¶ 1-2, 4.
Petitioner further alleges that the vaccine was administered within the United States;
that he experienced symptoms of the injury for more than six months; and that there has
been no prior award or settlement of a civil action for damages as a result of his alleged
injury. Petition at 1, 3; Stipulation at ¶¶ 3-5. “Respondent denies that petitioner
sustained a SIRVA Table injury and denies that petitioner’s alleged shoulder injury and
its residual effects were caused-in-fact by his flu vaccine. Respondent further denies

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 2 of 7



that the flu vaccine caused petitioner any other injury or his current condition.”
Stipulation at ¶ 6.

       Nevertheless, on March 30, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth
therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $36,380.02 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
       Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 3 of 7




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                               )
ERIC LARSON,                                   )
                                               )
                     Petitioner,               )       No. 18-1666V        ECF
                                               )
                V.                             )       Chief Special Master Corcoran
                                               )
SECRETARY OF HEALTH                            )
AND HUMAN SERVICES,                            )
                                               )
     Respondent.                               )
______________                                 )

                                          STIPULATION

        The parties hereby stipulate to the following matters:

        1.   Petitioner, Eric Larson, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to 34 (the "Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of the

influenza ("flu") vaccine, which is contained in the Vaccine Injury Table (the "Table"), 42

C.F.R. § 100.3(a).

       2.    On October 18, 2016, petitioner received a flu vaccine in his right arm.

       3.    The vaccine was administered within the United States.

       4.    Petitioner alleges that he suffered a shoulder injury related to vaccine administration

("SIRVA"), within the time period set forth in the Table, and that he experienced symptoms of

the injury for more than six months.

       5.    Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of his alleged injuries.


                                                   1
        Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 4 of 7




        6.     Respondent denies that petitioner sustained a SIRVA Table injury and denies that

petitioner's alleged shoulder injury and its residual effects were caused-in-fact by his flu vaccine.

Respondent further denies that the flu vaccine caused petitioner any other injury or his current

condition.

       7.      Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8.     As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                  A lump sum of $36,380.02, in the form of a check payable to petitioner. This
                  amount represents compensation for all damages that would be available under 42
                  U.S.C. § 300aa-15(a).

       9.      As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. Section 300aa-21(a)(l), and an application, the parties will submit to further

proceedings before the special master to award reasonable attorneys' fees and costs incurred in

proceeding upon this petition.

        l 0.    Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or


                                                   2
        Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 5 of 7




State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.   Payment made pursuant to paragraph 8 of this Stipulation, and any amounts

awarded pursuant to paragraph 9 of this Stipulation, will be made in accordance with 42 U.S.C.

§ 300aa-l 5{i), subject to the availability of sufficient statutory funds.

        12.   The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursed expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner, as contemplated by a

strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§§ 300aa-15(g) and (h).

        13.   In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions, causes of action (including

agreements, judgments, claims, damages, loss of services, expenses and all demands of whatever

kind or nature) that have been brought, could have been brought, or could be timely brought in

the Court of Federal Claims, under the National Vaccine Injury Compensation Program, 42

U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all known or

unknown, suspected or unsuspected personal injuries to or death of petitioner resulting from, or

alleged to have resulted from, the vaccine administered on October 18, 2016, as alleged by

petitioner in a petition for vaccine compensation filed on or about October 29, 2018, in the

United States Court of Federal Claims as petition No. 18-1666V.


                                                   3
        Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 6 of 7




        14.   If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15.   If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.   This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above.     There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to.   The parties further agree and understand that the award described in this

stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused or significantly aggravated

petitioner's alleged injury or any other injury.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION




                                                   4
      Case 1:18-vv-01666-UNJ Document 44 Filed 05/01/20 Page 7 of 7




Respectfully submitted,




ATTORNEY OF RECORD FOR                       AUTHORIZED REPRESENTATIVE
PETITIONER:                                  OF THE ATTORNEY GENERAL:




                     OUGH                    ~                   En~
 Muller Br 1, LLP . .                        Deputy Director
 715 Twining Road, Suite 208                 Torts Branch
,Dresher, PA 19025                           Civil Division
 Tel: (215) 855-1655                         P.O. Box 146
                                             Benjamin Franklin Station
                                             Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                    ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                   RESPO~DENT:         •
AND HUMAN SERVICES:
                                             ~mM~
                                              try -- [L_ _
TAMARA OVERBY
Acting Director, Division of Injury          Assistant Director
Compensation Programs                        Torts Branch, Civil Division
Healthcare Systems Bureau                    U.S. Department of Justice
U.S. Department of Health                    P.O. Box 146
and Human Services                           Benjamin Franklin Station
5600 Fishers Lane                            Washington, DC 20044-0146
Par.lclawn Building, Mail Stop 08N146B       Tel: (202) 616-4359
Rockville, MD 20857                          gabrielle.fielding@usdoj.gov


Dated: _ _  ,_,_1__(_z_o_-z_c,_; ,
                   1


                                         5
